                                COURT OF APPEALS FOR THE
                           FIRST DISTRICT OF TEXAS AT HOUSTON

                                           ORDER

Appellate case name:          Hassell Construction Company, Inc., and James C. Hassell v.
                              R. Hassell &amp; Co., Inc., R. Hassell Builders, Inc., R. Hassell
                              Holding Co., Inc., and G. R. Group Resources, LLP

Appellate case number:       01-18-00546-CV

Trial court case number:     2013-61995

Trial court:                 61st District Court of Harris County

       This appeal was stayed pursuant to the “Notice of Bankruptcy Pursuant to TRAP
Rule 8” that appellants, Hassell Construction Company, Inc. and James C. Hassell, filed
in this Court on July 16, 2018, stating that R. Hassell Holding Companies, Inc., R.
Hassell &amp; Co., Inc., and R. Hassell Builders, Inc. had filed chapter 11 petitions for relief
in the United States Bankruptcy Court for the Southern District of Texas. See 11 U.S.C.
§ 362(a) (automatic stay in bankruptcy). On August 7, 2018, appellants filed an
“Unopposed Motion to Reinstate Appeal and Reset Briefing Deadline,” representing that
the bankruptcy court has entered an order lifting the automatic stay to permit the appeal
to proceed. See TEX. R. APP. P. 8.3(a). We grant appellant’s motion and reinstate the
case on the Court’s active docket.
        The docketing statement, clerk’s record, and reporter’s record, if any, are due to be
filed in this Court no later than 30 days from the date of this order. See id. 8.2, 32.1, 34.1.
Appellants’ brief will be due to be filed within 30 days, after the later of, the date the
clerk’s record or reporter’s record is filed. See id. 38.6(a).
       It is so ORDERED.

Judge’s signature:   /s/ Russell Lloyd
                      Acting individually          Acting for the Court

Date: August 14, 2018
